                                                     Case 21-12443-nmc            Doc 40    Entered 10/28/21 11:16:58          Page 1 of 25



                                                 1   WILLIAM L. COULTHARD, ESQ.
                                                     Nevada Bar No. #3927
                                                 2   Coulthard Law PLLC
                                                     840 South Rancho Drive #4-627
                                                 3   Las Vegas, Nevada 89106
                                                     (702) 898-9944
                                                 4   wlc@coulthardlaw.com

                                                 5   Attorneys for Creditor Charles J. LaDuca

                                                 6
                                                                               UNITED STATES BANKRUPTCY COURT
                                                 7
                                                                                           DISTRICT OF NEVADA
                                                 8
                                                      In re:                                                 Case No. BK-S-21-12443-NMC
                                                 9
                                                      MONEYLINE ANALYTICS, LLC,                              Chapter 7
                                                10

                                                11                      Debtor.                              NOTICE OF ISSUANCE OF SUBPOENA
                                                                                                             DUCES TECUM TO MATTHEW
COULTHARD LAW, PLLC
                840 South Rancho Drive #4-627




                                                12                                                           TURNIPSEEDE
                  Las Vegas, Nevada 89106




                                                13
                       (702) 989-9944




                                                14   TO: ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:

                                                15             PLEASE TAKE NOTICE that pursuant to FRCP 45(a)(4), Creditor Charles J. LaDuca

                                                16   (“Creditor”), by and through his counsel, William L. Coulthard of Coulthard Law, intends to

                                                17   serve a subpoena duces tecum upon Matthew Turnipseede in the form attached as Exhibit 1.

                                                18             Dated this 28th day of October, 2021.

                                                19                                                     Respectfully submitted,

                                                20
                                                                                                       By:      /s/ William L. Coulthard
                                                21                                                              William L. Coulthard, Esq.
                                                                                                                Nevada Bar No. #3927
                                                22                                                              Coulthard Law PLLC
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                                                23                                                              Las Vegas, Nevada 89106
                                                                                                                (702) 898-9944
                                                24                                                              wlc@coulthardlaw.com

                                                25                                                              Attorneys for Creditor Charles J. LaDuca

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                                                 1                                   CERTIFICATE OF SERVICE

                                                 2          I hereby certify that the foregoing document was electronically filed with the Clerk of

                                                 3   the Court via the electronic filing system on the 28th day of October, 2021.

                                                 4   Zachariah Larson                                  Bradley G. Simms
                                                     LARSON & ZIRZOW, LLC                              HOUMAND LAW FIRM, LTD.
                                                 5   850 E. Bonneville Ave.                            9205 West Russell Road
                                                 6   Las Vegas, NV 89101                               Bldg. 3, Suite 240
                                                     (702) 382-1170                                    Las Vegas, NV 89148
                                                 7   zlarson@lzlawnv.com                               (702) 720-3370
                                                     Attorney for Debtor, Moneyline Analytics,         bsims@houmandlaw.com
                                                 8   LLC                                               Attorney for Trustee, Shelley D. Krohn
                                                 9

                                                10          I certify that some of the participants in this case may be registered electronic filing

                                                11   systems users and will be served electronically. For those participants in the case that are not
COULTHARD LAW, PLLC
                840 South Rancho Drive #4-627




                                                12   registered electronic filing system users, service was made by depositing a copy of the above-
                  Las Vegas, Nevada 89106




                                                13   referenced document for mailing in the United States Mail, first-class postage prepaid, at Las
                       (702) 989-9944




                                                14   Vegas, Nevada to the following unregistered participants: N/A.

                                                15

                                                16                                                                /s/ Tami J. Reilly
                                                17                                                                Tami J. Reilly, a representative
                                                                                                                  Of Coulthard Law, PLLC
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                    EXHIBIT 1




                    EXHIBIT 1
                         Case 21-12443-nmc                   Doc 40         Entered 10/28/21 11:16:58                    Page 4 of 25
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  3/$&( Coulthard Law PLLC, 840 S. Rancho Dr., #4-627, Las Vegas, NV 89106                                  '$7($1'7,0(
            If documents are received prior to 1//21, personal appearance is not required Wednesday, 1RY, 2021, 5:00 p.m.


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  William L. Coulthard, Esq., Coulthard Law, PLLC, 840 S. Rancho Dr., #4-627, Las Vegas, NV 89106, (702) 898-9944
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                                    AMENDED EXHIBIT A
                                         DEFINITIONS

1. “Bankruptcy Case” means the following case and all jointly administered cases, if applicable:
   Moneyline Analytics, LLC, United States Bankruptcy Court for the District of Nevada, Case
   No. BK-S-21-12443-nmc.

2. All definitions and instructions set forth in the Federal Rules of Civil Procedure 26 and 33 shall
   apply herein.

3. The definitions and instructions as set forth in the Local Rules of the United States Bankruptcy
   Court for the District of Nevada are adopted and treated as if fully set forth herein.

4. “Moneyline” means Moneyline Analytics, LLC and all of its affiliates, agents, attorneys,
   employees, representatives, and any other people acting on its behalf in the Bankruptcy Case.

5. “Edgewize” means Edgewize, LLC and all of its affiliates, agents, attorneys, employees,
   representatives, and any other people acting on its behalf in the Bankruptcy Case.

6. “Fusion Capital” means Fusion Capital, LLC and all of its affiliates, agents, attorneys,
   employees, representatives, and any other people acting on its behalf in the Bankruptcy Case.

7. “Moneyline Dublin” means Moneyline Dublin and all of its affiliates, agents, attorneys,
   employees, representatives, and any other people acting on its behalf in the Bankruptcy Case.

8. “Edge Sports Analytics” means Edge Sports Analytics, LLC and all of its affiliates, agents,
   attorneys, employees, representatives, and any other people acting on its behalf in the
   Bankruptcy Case.

9. The term “Account” includes, but is not limited to, any depository, credit card, loan, payment
   processing, payment facilitating, investment, and/or brokerage account.

10. nAcquirer| or nAcquiring Bank| means a business organization, financial institution, or an
    agent of a business organization or financial institution that has authority from an organization
    that operates or licenses a credit card system (e.g., VISA, Inc., Mastercard Inc., American
    Express Company, and Discover Financial Services, Inc.) to authorize merchants to accept,
    transmit, or process payment by credit card through the credit card system for money, goods
    or services, or anything of value.

11. “And” as well as “or” shall be construed disjunctively or conjunctively as necessary in order
    to bring within the scope of the request all responses which otherwise might be construed to
    be outside its scope.

12. “All” and “any” mean “any and all” and the word “including” means “including without
   limitation.”
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13. “Authentic” is defined to be synonymous in meaning and equal in scope to the usage of this
    term in Federal Rules of Evidence 901 and 902.

14. “Bank” means a financial institution that is defined by the Federal Financial Institutions
    Examination Council as subject to its uniform principles, standards, and report forms for the
    federal examination of financial institutions by the Board of Governors of the Federal Reserve
    System (“FRB”), the Federal Deposit Insurance Corporation (“FDIC”), the National Credit
    Union Administration (“NCUA”), the Office of the Comptroller of the Currency (“OCC”), and
    the Consumer Financial Protection Bureau (“CFPB”) or as subject to its recommendations to
    promote uniformity in the supervision of financial institutions by the Board of Governors of
    the Federal Reserve System (“FRB”), the Federal Deposit Insurance Corporation (“FDIC”),
    the National Credit Union Administration (“NCUA”), the Office of the Comptroller of the
    Currency (“OCC”), and the Consumer Financial Protection Bureau (“CFPB”).

15. “Bank Secrecy Act/Anti-Money Laundering Compliance Program” or “BSA/AMLP”
    means the written Bank Secrecy Act/Anti-Money Laundering compliance program established
    by the Defendant and approved by the Defendant’s board of directors, as set forth in the FFIEC
    Examination Manual or otherwise adopted, approved, implemented or in effect at any time
    between August 1, 2013 to October 1, 2021.

16. “Customer Identification Program” or “CIP” means the Defendant’s customer identity
    verification protocols and procedures, approved by the Defendant’s board of directors, as set
    forth in the FFIEC Examination Manual, or otherwise adopted, approved, implemented, or in
    effect at any time between August 1, 2013 to October 1, 2021.

17. “CIP Bank Audit and Training Programs” or “CIP/ATP” means the Defendant’s CIP audit
    and training programs, approved by the Defendant’s board of directors, as set forth in the
    FFIEC Examination Manual, or otherwise adopted, approved, implemented, or in effect at any
    time between August 1, 2013 to October 1, 2021.

18. “KYC” or “Know Your Client” refers to the Defendant’s written Know Your Customer
    (KYC) program, practices, and procedures, approved by the Defendant’s board of directors, as
    set forth in the FFIEC Examination Manual, or otherwise adopted, implemented, or in effect
    at any time during January 1st, 2015 to present and on a continuing basis.

19. “Communication” means, without limitation, the oral or written exchange, transfer, or
    dissemination of information of any kind regardless of the means or medium by which it is
    accomplished, such as electronic communications, e-mails, facsimiles, telephone
    communications, correspondence, exchange of written or recorded information, or face-to-face
    meetings, and the transmittal of information (in the form of facts, ideas, inquiries, or
    otherwise).

20. The phrase “Communication between” is defined to include instances where one party
    addresses the other party, but the other party does not necessarily respond.

21. “Customer Due Diligence” means all activities taken relating to Defendant’s internal
    requirements, programs, activities, practices, protocols, and standards, pursuant to the
    BSA/AMLP, CIP, CIP/ATP, KYC, Patriot Act and FFIEC Examination Manual compliance
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    or otherwise adopted, approved, implemented, or in effect at any time between January 1st,
    2015 to present.

22. “Declarant” is defined to be synonymous in meaning and equal in scope to the usage of this
    term in Federal Rules of Evidence 801(b).

23. “Document” or “Documents” is defined to be synonymous in meaning and equal in scope to
    the usage of this term in Federal Rules of Civil Procedure 34(a), including, but not limited to
    means all writings of any kind, including the originals and all non-identical copies, whether
    different from the originals by reason of any notation made on such copies or otherwise,
    including but not limited to correspondence, memoranda, notes, diaries, desk or other
    calendars, statistics, letters, telegrams, minutes, business records, personal records, account
    statements, bank statements, contracts, reports, studies, checks, receipts, invoices, bills,
    returns, charts, summaries, pamphlets, books, interoffice and intra-office communications,
    notations of any sort of conversations, written agreements, bulletins, printed matter, computer
    print-outs, teletypes, telefax, worksheets, all drafts, alterations, modifications, changes, and
    amendments of any of the foregoing graphic or oral records or representations of any kind
    (including, without limitation, tapes, cassettes, discs, recordings, and computer memories). It
    includes the terms “writings,” “recordings,” “photographs,” “originals” and “duplicates” as
    those terms are used in Rule 1001 of the Federal Rules of Evidence and specifically includes
    electronically stored information. A draft or nonidentical copy is a separate document within
    the meaning of this term.

24. “Duplicate” is defined to be synonymous in meaning and equal in scope to the usage of this
    term in Federal Rules of Evidence 1001(e).

25. The term “during” means at some time or point during, throughout the duration, continuance,
    or existence of, or concurrently with a given period.

26. A request to "describe" any oral statement or communication is a request to state:

    a. The name and address of each individual making such statement or communication.

    b. The name of any principal or employer whom or which such individual was thereby
       representing and the position in which such individual was then employed or engaged by
       such principal or employee.

    c. The name and address of the individual or individuals to whom the oral statement or
       communication was made, and the name of any principal or employer whom such person
       or persons were representing at the time of and in connection with such oral statement or
       communication, as well as the employment position in which they were then employed or
       engaged.

    d. The names and addresses of any other individuals present when such oral statement or
       communication was made or who heard or acknowledged hearing the same.

    e. The place where such oral statement or communication was made.


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    f. A brief description of the contents of such oral statement or communication.

27. “Defendant(s)” includes its partners, corporate parent, subsidiaries, or affiliates, and its
    predecessors, successors, subsidiaries, departments, divisions, and/or affiliates, including,
    without limitation, any organization or entity which the responding Defendant(s) manages or
    controls, together with all present and former directors, officers, employees, agents,
    representatives, or any persons acting or purporting to act on behalf of the responding
    Defendant(s).

28. “Enhanced Due Diligence” or “EDD” shall refer to process(es) the Defendant uses to initiate
    and conduct closer scrutiny of higher-risk customers, as described in the Federal Financial
    Institutions Examination Council (FFIEC) Bank Secrecy Act (BSA)/Anti-Money Laundering
    (AML) Examination Manual and in Financial Crimes Enforcement Network et al., Guidance
    on Obtaining and Retaining Beneficial Ownership Information, Joint Release FIN-2010-G001,
    at 3 (March 5, 2010).

29. “Entity” means business, legal, or governmental entity or association, however organized.

30. A request to “Explain Fully” any answer, denial, or claim is a request (insofar as may be
    applicable) to:

    a. State fully and specifically each fact and/or contention in support of your answer, denial,
       or claim; and

    b. For each such fact or contention, to identify each person who has knowledge relative to
       that fact or contention, each document that tends to support that fact or contention, and
       each document that tends to dispute that fact or contention.

31. “FFIEC” shall refer to the Federal Financial Institutions Examination Council (FFIEC)
    established on March 10, 1979, pursuant to title X of the Financial Institutions Regulatory and
    Interest Rate Control Act of 1978 (FIRA).

32. “FFIEC Examination Manual” shall refer to the Federal Financial Institutions Examination
    Council (FFIEC) Bank Secrecy Act (BSA)/Anti-Money Laundering (AML) Examination
    Manual.

33. “Financial Services Provider” means a provider of financial services and includes, for
    purposes of the inquiries set forth herein, any bank, credit union, payment processor, payment
    facilitator, Independent Sales Organization (ISO), Independent Sales Agent (ISA), credit
    and/or debit card payment organization, investment-related services provider, and any person
    or organization defined as a Financial Institution by the Bank Secrecy Act.

34. “Identify” when referring to a person means to give, to the extent known, the person’s full
    name, present or last known address, and, when referring to a natural person, the present or
    last known place of employment. Once a person has been identified in accordance with this
    subsection, only the name of that person need be listed in response to subsequent discovery
    requesting the identification of that person.


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35. “Identify” when referring to documents means to give to the extent known, the (A) type of
    document; (B) general subject matter; (C) date of the document; and (D) author(s),
    addressee(s), and recipient(s).

36. “Meeting” means the contemporaneous presence of two or more natural Persons, whether in
    person or telephonically, whether such coincidence of presence was by chance or pre-arranged,
    and whether the meeting was formal or informal or occurred in connection with some other
    activity.

37. “Money Laundering” means the movement of money after it was received by MONEYLINE
    ANALYTICS, LLC, or You, including, but not limited to, payments to others through
    MONEYLINE ANALYTICS, LLC,, and those who otherwise assisted them for the purpose
    of making the money generated by MONEYLINE ANALYTICS, LLC,’s business appear to
    have come from a legitimate source or to place money outside the reach of US regulators or
    jurisdiction or the concealment of the origins of illegally obtained money, typically by means
    of transfers involving foreign banks or legitimate businesses or placing money outside the
    reach of US regulators and jurisdiction.

38. “Net Loser” refers to a participant who received less from MONEYLINE ANALYTICS, LLC,
    and other participants than they paid to MONEYLINE ANALYTICS, LLC, and other
    participants.

39. “Net Winner” refers to a participant who received more from MONEYLINE ANALYTICS,
    LLC, and other participants than they paid to MONEYLINE ANALYTICS, LLC, and other
    participants

40. “Participants” means those who executed a MONEYLINE ANALYTICS, LLC, Template
    Contract or who tendered money to MONEYLINE ANALYTICS, LLC.

41. “Payment Processing” shall mean directly or indirectly providing a merchant with access,
    through any third-party depository financial institution (TPDFI), to payment mechanisms that
    allow consumers to purchase the merchant’s goods or services by debiting a consumer’s bank
    account or charging a consumer’s credit card account. Payment processing may include,
    among other things, providing a merchant with the means to electronically accept and transmit
    consumer payments through any TPDFI; monitoring, tracking, and reconciling payments,
    returns, and chargebacks; providing pre-authorization, post-authorization, and refund services
    to merchants; and disbursing funds receipts to merchants.

42. “Payment Processor” means a person or organization that provides payment processing
    services.

43. “Payment Processing Facilitator” or “Payment Facilitator” means a person or organization
    that provides payment processing services to multiple merchants by means of its own merchant
    processing account with an acquirer.

44. “Person” means any natural person or any business, legal, or governmental entity or
    association, however organized.


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45. “Red Flag(s)” means your internally observed indicators that signal a need to investigate a
    customer, restrict a customer’s banking or pay processing privileges, suspend banking or pay
    processing services, close a customer’s account, or generate a SARS report.

46. “Relatives” or “Relatives in Law” means all relatives including but not limited to parents,
    siblings, siblings in law, children, stepchildren, and their next of kin and also including each
    business entity that they own, control or have an interest in.

47. “Risk Profile” shall refer to the customer risk profile developed through customer risk
    assessment as part of the CDD or EDD process, as set forth in the FFIEC Examination Manual.

48. “Relating to”, “referring to”, “regarding”, “concerning” or any derivative thereof, in
    addition to their customary and usual meanings, means concerning, constituting, containing,
    describing, discussing, embodying, evidencing, identifying, illustrating, pertaining to,
    assessing, recording, relating to, referring to, regarding, supporting, negating, refuting,
    touching upon and/or summarizing.

49. The “Scheme” means the MONEYLINE ANALYTICS, LLC, pyramid/Ponzi scheme
    including its on going operatins that are the subject of this litigation.

50. “Statement” is defined to be synonymous in meaning and equal in scope to the usage of this
    term in Federal Rules of Evidence 801(a) and includes any Communication

51. “Suspicious Activity Report” or “SARS” shall refer to a Suspicious Activity Report as set
    forth in 12 CFR 21.11.

52. “MONEYLINE ANALYTICS, LLC” or “MONEYLINE ANALYTICS, LLC Related
    Entities” means individually or collectively the entities known as MONEYLINE
    ANALYTICS, LLC, Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and
    Edge Sports Analytics as well as Mathew Turnipseed and Sonya Turnipseed as well as their
    officers, directors, agents, employees, attorneys, investigators, consultants, and anyone else
    acting on their behalf.

53. “Template Form Contract” and “Standard Form” or “Template Contract” means
    MONEYLINE ANALYTICS, LLC standard form contract. See Attachment 1.

54. “You” means Matthew Turnipseede and all of your owned or controlled companies affiliates,
    agents, attorneys, employees, representatives, predecessors, successors, subsidiaries, ,
    including, without limitation, any organization or entity which you manages or control,
    together with all your present and former employees, agents, representatives or any persons
    acting or purporting to act on your behalf.

55. “USA Patriot Act Section 314(b)” or “Patriot Act” means the law which permits financial
    institutions, upon providing notice to the United States Department of the Treasury, to share
    information with one another to identify and report to the federal government activities that
    may involve money laundering or terrorist activity.



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                                              INSTRUCTIONS

1. Unless otherwise specified, the requested documents shall cover the time period since January
   1, 2015, to the present and continuing.

2. In responding to these document requests, please furnish all information that is available to
   you or subject to your control, including information in the possession, custody, or control of
   your officers, directors, employees, representatives, consultants, agents, servants, attorneys,
   accountants, or any person who has served in any such role at any time, as well as corporate
   parents, subsidiaries, affiliates, divisions, predecessor companies or proprietorships, any joint
   venture to which you are a party, and other persons acting on your behalf.

3. Specific request is made pursuant to Fed. R. Civ. P. 26(e) that you supplement your responses at
   any time should your response to any inquiry not be currently complete.

4. Be clear that you have a duty to reasonably amend or supplement a prior response if you obtain
   information that leads you to believe that a response was incorrect when made, or that response
   though correct when made, is no longer true.

5. Furthermore, you are required to supplement your response with respect to any requests directly
   addressed to the identity and location of persons having knowledge of discoverable matters as
   well as any request directly addressed to the identity of each person expected to be called as an
   expert witness at trial, the subject matter on which he or she is to testify, and the substance of his
   testimony.

6. Whenever reference is made to a person, it includes all such person’s principals, employees,
   agents, attorneys, consultants, and all other representatives.

7. Whenever reference is made to an entity, it includes all such entity's parents, subsidiary’s,
   affiliates, principals, employees, agents, attorneys, consultants, and all other representatives.

8. Identify the present location of any document you are unable to produce in answer to any of
   the document requests.

9. If your response to any request herein is that the information sought is not in your possession
   or custody, describe in detail and Explain Fully the unsuccessful efforts you made to obtain
   such documents.

10. If object to any request for documents herein based on a claim of any privilege or immunity
    from disclosure, please identify the following information for all information so withheld and
    Explain Fully:

        a. The type of information (e.g., contents of attorney-client telephone call);
        b. The date of any meeting or conversation you claim is privileged or otherwise immune
           from disclosure;
        c. The persons present at any meeting or conversation you claim is privileged or otherwise
           immune from disclosure;
        d. The general subject matter of the information;

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       e. The nature of the privilege or immunity asserted; and
       f. A brief explanation of why the information is believed to be privileged or immune from
          production.

11. If you cannot fully comply with any request for production, comply to the maximum extent
    possible and Explain Fully: (a) what information you are unable to or refuse to and (b) why
    full compliance is not possible.

12. If you object to any request for production or subpart thereof, state with specificity the grounds
    for each such objection.

13. Each document produced by you in response should include a unique production number.
                              DOCUMENTS TO BE PRODUCED

1. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Sonya Turnipseede relating to, in any way,
   Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports
   Analytics from January 1st, 2015 to present.

2. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Brett Lovett relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

3. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Clayton Graham relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

4. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Sarat Kusuma relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

5. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Arvind Mody relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

6. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Devin Mody relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

7. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Amish Shah relating to, in any way, Edgewize,


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    Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
    January 1st, 2015 to present.

8. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Divya Shah relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

9. All communications including but not limited to text messages, indicia of phone calls, and
   emails between Matthew Turnipseede and Kimberly Starr relating to, in any way, Edgewize,
   Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
   January 1st, 2015 to present.

10. All communications including but not limited to text messages, indicia of phone calls, and
    emails between Matthew Turnipseede and Vithal Kusuma relating to, in any way, Edgewize,
    Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
    January 1st, 2015 to present.

11. All communications including but not limited to text messages, indicia of phone calls, and
    emails between Matthew Turnipseede and Rajesh Wallace relating to, in any way, Edgewize,
    Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
    January 1st, 2015 to present.

12. All communications including but not limited to text messages, indicia of phone calls, and
    emails between Matthew Turnipseede and Peter Yribar relating to, in any way, Edgewize,
    Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
    January 1st, 2015 to present.

13. All communications including but not limited to text messages, indicia of phone calls, and
    emails between Matthew Turnipseede and Greg Sidoris relating to, in any way, Edgewize,
    Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from
    January 1st, 2015 to present.

14. All communications including but not limited to text messages and emails between Matthew
    Turnipseede and Jennifer North relating to, in any way, Edgewize, Moneyline Analytics,
    Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from January 1st, 2015 to
    present.

15. All communications including but not limited to text messages and emails between Matthew
    Turnipseede and Geoff Verhoff relating to, in any way, Edgewize, Moneyline Analytics,
    Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from January 1st, 2015 to
    present.

16. All communications including but not limited to text messages, indicia of phone calls, and
    emails between Matthew Turnipseede and Financial Intuitions (including each Acquiring and
    Merchant Bank) relating to, in any way, you, Edgewize, Moneyline Analytics, Fusion Capital,
    Moneyline Dublin, and Edge Sports Analytics from January 1st, 2015, to present.


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17. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and each Pay Processors relating to, in any way, you
    Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports
    Analytics from January 1st, 2015, to present.

18. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and each business entity and operations consultant
    relating to, in any way, you, Edgewize, Moneyline Analytics, Fusion Capital, Moneyline
    Dublin, and Edge Sports Analytics from January 1st, 2015, to present.

19. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and each licensed professional such as Certified Public
    Accountants and attorneys relating to, in any way, you, Edgewize, Moneyline Analytics,
    Fusion Capital, Moneyline Dublin, and Edge Sports Analytics from January 1st, 2015, to
    present.

20. All communications including but not limited to text messages, indicia of phone calls, and
    emails between Matthew Turnipseede and each technology consultant relating to, in any way,
    you, Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports
    Analytics from January 1st, 2015, to present.

21. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and each state or federal agency or department relating
    to, in any way, to Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and
    Edge Sports Analytics from January 1st, 2015 to present.

22. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and each state or federal agency or department,
    including the SEC, the Justice Department, the FBI, the Nevada Gaming Commission relating
    to, in any way, to Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and
    Edge Sports Analytics from January 1st, 2015 to present.

23. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and Moneyline Investors or Participants (Members
    and/or Investors in Moneyline who were given a K-1 during the tax return years from 2013-
    2020) relating to, in any way, to Edgewize, Moneyline Analytics, Fusion Capital, Moneyline
    Dublin, and Edge Sports Analytics from January 1st, 2015, to present.

24. All communications including but not limited to text messages indicia of phone calls, and
    emails between Matthew Turnipseede and all other persons or entities not specified above
    relating to, in any way, to Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin,
    and Edge Sports Analytics from January 1st, 2015 to present.

25. All indicia of persons or entities who were issued a 1099, W9 or K1 tax form from 2015 – this
    date for Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics.




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26. All bank statements from Wells Fargo bank or each other financial institution that accounts
    were opened in the name of: 1.) Matthew Turnipseede, 2.) Sonya Turnipseede, 3.) Moneyline
    Analytics, 4.) Fusion Capital, LLC, 5.) Edge Sports Analytics from January 1, 2015 to present.

27. All statements from each Pay Processor for accounts in the name of: 1.) Matthew Turnipseede,
    2.) Sonya Turnipseede, 3.) Moneyline Analytics, 4.) Fusion Capital, LLC, 5.) Edge Sports
    Analytics from January 1, 2015 to present.

28. To the extent not already requested and produces above, all documents including the
    applications submitted by Edgewize, Moneyline Analytics, Fusion Capital, Moneyline Dublin,
    and Edge Sports Analytics to open, maintain or close accounts with financial institutions and
    pay processors including all supporting documents and responses to Know Your Client
    inquiries and questionnaires.

29. All communications relating to any Financial Institution, Pay Processor, attorney, CPA, and
    all other consultants’ willingness or refusal to perform services for you, Edgewize, Moneyline
    Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports Analytics.

30. All documents that describe the financial and/or business plan of Moneyline Analytics, Fusion
    Capital, Moneyline Dublin, and Edge Sports Analytics.

31. All financial records, financial statements, profit and loss reports of Moneyline Analytics,
    Fusion Capital, Moneyline Dublin, and Edge Sports Analytics.

32. All communications between Matthew Turnipseede and Moneyline Analytics investors
    including any information describing Moneyline Analytics business operations and projected
    return on investments contributed/provided to Moneyline Analytics investors.

33. All tax returns since their inception for: 1.) Moneyline Analytics, 2.) Fusion Capital, 3.)
    Moneyline Dublin, 4.) Edge Sports Analytics.

34. All personal tax returns for Matthew Turnipseede for years 2015, 2016, 2017, 2018, 2019,
    2020 and 2021.

35. All personal tax returns for Sonya Turnipseede for years 2015, 2016, 2017, 2018, 2019, 2020
    and 2021.

36. Each credit card or debit card statement in the name of Matthew Turnipseede, Sonya
    Turnipseede, Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports
    Analytics from January 1, 2015, to present where the following charges are on those
    statements:

       a. W8TECH_*SA

       b. W8TECH SA 775-4504856 NV

       c. W8Tech.com*SA


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       d. W8TECH SA LAS VEGAS NV 775-450-4856

       e. w8tech* 775-450-4856

37. To the extent not already produced, each credit card or debit card statement in the name of
    Matthew Turnipseede, Sonya Turnipseede, Moneyline Analytics, Fusion Capital, Moneyline
    Dublin, and Edge Sports Analytics from January 1, 2015, to present

38. All evidence of wager placement as described in the Moneyline Analytics Business Plan for
    January 1, 2016, to present.

39. All evidence of wager payouts as described in the Moneyline Analytics Business Plan for
    January 1, 2016, to present.

40. All evidence that the COVID 19 epidemic adversely affected or benefited the business and
    revenue stream of Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge Sports
    Analytics.

41. All documents or other indicia showing, evidencing or establishing that Matthew Turnipseede
    has been banned from placing sports wagers at any William Hill Sportsbooks or kiosks.

42. Documents that were submitted to the accountant of record that filed the Moneyline Analytics
    tax returns for 2016, 2017, 2018, 2019, 2020 and 2021. These are the documents that the
    Accountant of Record based their filings on in each of those years.

43. The law firm opinion that Matthew Turnipseede used for his investment presentations from
    the Lane Alton law firm in Columbus, Ohio.

44. Each accounting and booking report, including but limited to weekly, monthly, quarterly and
    yearly Profit and Loss statements, as requested by or provided to Moneyline Analytics, Fusion
    Capital, Moneyline Dublin, and Edge Sports Analytics.

45. All documents submitted to the law firm of Lane Alton law firm in Columbus, Ohio.

46. All communications by payment processors, financial institutions, licensed professionals or
    other consultants and each state or federal agency or department, including the SEC, the Justice
    Department, the FBI, the Nevada Gaming Commission relating to, in any way, any suspicion,
    allegation or opinion that Moneyline Analytics, Fusion Capital, Moneyline Dublin, and Edge
    Sports Analytics was involved in an illegal or fraudulent activity, including but not limited to
    a Ponzi or pyramid scheme.

47. All documents through which you became aware that Moneyline Analytics, Fusion Capital,
    Moneyline Dublin, or Edge Sports Analytics were involved in an unlawful business operation.

48. Each document that evidences the identity or existence of a witness to the business operations
    of Moneyline Analytics, Fusion Capital, Moneyline Dublin, or Edge Sports Analytics,
    including but not limited to day to day or occasional financial or administrative operations.


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49. Wells Fargo Checking Account Monthly Bank Statements for Account ending in 3172 (Matt
    Turnipseede) from 2015 to the present;

50. Wells Fargo Checking Account Monthly Bank Statements for Account ending in 3198 (Matt
    Turnipseede) from 2015 to the present; and,

51. Wells Fargo Checking Account Monthly Bank Statements for Account ending in 3180 (Matt
    Turnipseede) from 2015 to the present.

52. Personal Tax Returns filed with the IRS for Matt and Sonja Turnipseed from 2015 to the
    present.




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                             Attachment 1




                             Attachment 1
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Moneyline Analytics, LLC




Investor Information & Operating Agreement




Date:          XXX, X 2020
Prepared by:   Matthew J. Turnipseede
               President
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MLA Operating Agreement

Purpose of the Operating Agreement
This document was designed for xxxxxxxxx here as known as (“XX”) to have as an
understanding as to how Moneyline Analytics, LLC (“MLA”) will operate from June 1, 2020 –
December 31, 2020. All questions can be directed to Company President and Managing Member
of the Company, Matthew Turnipseede, hereby known as (“Matt”) at (702) 217-0805, or at
matt@moneylineanalytics.com.

O PE RAT I ONS :
MLA is a Limited Liability Company organized and maintained under the laws of the State of
Nevada. Current leadership is comprised of one member, Matt, but proposes to admit XX (as a
proportionate member) who will contribute cash to its capital for use in its business operations.
Matt will remain the managing member at all times. There, he will operate the Company by using
the capital to place wagers on sporting events. Matt will not be paid any compensation for the act
of placing wagers. XX and Matt will participate in the proportionate distributive shares of the
Company’s profits. All wagers will be placed with betting parlors that are duly licensed with the
Gaming Commission of the State of Nevada. MLA proposes to accept capital contributions from
XX and deposit them in a bank account maintained exclusively within the State of Nevada. Matt
will not disclose any information regarding wagers that may be placed until after the conclusion of
the sporting event involved, in compliance with Nevada state law. Matt will not place wagers
using XX’s money on behalf of anyone other than XX.


Management & Control
         a. Managing Member. The Managing Member of the Company will be Matthew J.
            Turnipseede. The Company will be managed and controlled in accordance with this
            agreement.
         b. Books, records, and reports. Matt will maintain the books, records, and other
            documents required by the Law. Matt will furnish to XX a monthly report starting in
            July 2020 and every month thereafter until the end of this contract on December 31,
            2020, where the final report is issued.
         c. Conduct of Business. Matt agrees to use XX’s contributions to the best of his
            abilities, and in accordance with sound business practices, in a lawful manner, and to
            endeavor to preserve for the Company the goodwill of its suppliers, customers,
            employees, and others having relations with it. XX has authorized Matt to utilize the
            following revenue streams to increase his earnings: sports betting.
         d. Monthly Meetings. Matt shall conduct a monthly meeting either in person or via
            phone to chart progress in reaching the goals of XX’s account. This Agreement
            recognizes that it is critical for success that a monthly meeting take place to ensure
            best efforts are being utilized to reach the financial goals increasing XX’s fund.


Distributions & Additions
         a. Determination of Net Income or Loss. See Exhibit A
         b. Distributions of Net Income. Proportionate Members may take out their
            investment, or a portion of their investment, at any time.
         c. Making Additional Contributions. A Proportionate Member may add to their
            account at any time as well.




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Noncompetition, Trade secrets
      a. Noncompetition. Each Shareholder in MLA agrees that as long as he or she is the
         owner, or in control of, any of the Company’s shares, the Shareholder will not be
         employed, concerned, or financially interested, either directly or indirectly, in the
         same or a similar business as that conducted by the Company, or compete with the
         Company. Unless otherwise agreed to in writing by a unanimous vote of the
         remaining Shareholders, a departing Shareholder will not be employed, concerned,
         or financially interested, either directly or indirectly, in the same or a similar business
         as that conducted by the Company, or compete with the Company, for a one-year
         period following the date the departing Shareholder conveys his or her shares if any
         customers of the same, similar, or competing business may be located within a 100
         mile radius of the principle place of business of the Company.
      b. Trade Secrets. Each Shareholder acknowledges that the customer lists, potential
         customer lists, trade secrets, processes, methods, and technical information of the
         Company and any other matters designated by the written consent of all
         Shareholders are valuable assets. Unless he or she obtains the written consent of
         each of the other Shareholders, each Shareholder agrees never to disclose to any
         individual and organization, except in authorized connection with the business of the
         Company, any customer list, or any name on that list, or any trade secret, process, or
         other matter referred to in this paragraph while the Shareholder holds, or has the
         control of, any shares of the Company, or at any later time.

Restrictions On Transfer
      a. Restrictions on Transfer. To accomplish the purposes of this Agreement, any
         transfer, sale, assignment, hypothecation, encumbrance, or alienation of any of the
         share of the Company, other than according to the terms of this Agreement is void
         and transfers no right, title, or interest in or to those shares to the purported
         transferee, buyer, assignee, pledgee, or encumbrance holder. Each Shareholder
         shall have the right to vote shares held of record and to receive dividends paid on
         them until the shares are sold or transferred in accordance with this Agreement.
      b. Permitted transfers. A Shareholder may transfer all or any part of his or her shares
         to: (i) a spouse, ancestors or lineal descendants or the spouse of any such persons,
         (ii) to any trust solely for the benefit of the Shareholder or any of the foregoing
         persons, (iii) to a Shareholder, member, or partner of a Shareholder, or (iv) to a
         beneficiary of a trust that is a Shareholder, or (v) to a corporation, limited liability
         company, partnership or other entity controlled by the Shareholder, provided that
         each such permitted transferee shall first agree in writing to be bound by the terms
         and provisions of this Agreement. A Shareholder may also transfer all, or any part of
         his or her shares if the Managing Member approves that transfer in writing.
      c. Death, Disability, Incapacity of Manager to manage MLA. In case of Matthew
         Turnipseede becoming deceased or is debilitated from carrying out his duties as
         Managing Member of Moneyline Analytics LLC, Sonya Turnipseede and/or Matthew
         Turnipseede's estate is responsible for returning Investor's funds that are in MLA.
         These include funds in bank accounts and casino applications that said funds are
         invested in for MLA. Mr. Turnipseede shall at all times have a list of all bank accounts
         and casino applications with investors’ funds in it. This list shall include name of
         banking institution and/or casino application, person's full name on account and/or
         application, passwords and/or information needed to access said accounts and/or
         applications, and shall be stored with a third party escrow agent and/or on a secure
         server. This shall be updated monthly to reflect current amounts in each account
         and/or application.




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IN WITNESS WHEREOF, the parties have signed this Agreement on the date above written.




SHAREHOLDER: XX


______________________________________________


Initial Investment:




MONEYLINE ANALYTICS, LLC


______________________________________________
Matthew J. Turnipseede, Managing Member & President




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                                        EXHIBIT A

                                       Base Formula

$XX investment
$X level* Could change pending the mutual agreement of Matt and XX
X staff members

X avg categories x $X per category = $XXX/day




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